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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION



IN RE COOK MEDICAL, INC., IVC FILTERS
MARKETING, SALES PRACTICES AND                              Case No. 1:14-ml-2570-RLY-TAB
PRODUCTS LIABILITY LITIGATION                               MDL No. 2570


This Document Relates to the Following Case:

Barnes-Thomas, Vickie
1:19-cv-03610


                                            ORDER

       The Court, having considered the Cook Defendants’ Unopposed Motion to Withdraw

Motion for Judgment on the Pleadings on Statute of Repose Grounds (North Carolina) as to

Plaintiff Barnes-Thomas Only, and being duly advised, now finds that the Motion should be

granted.

       IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that the Cook

Defendants’ Unopposed Motion to Withdraw Motion for Judgment on the Pleadings on Statute of

Repose Grounds (North Carolina) as to Plaintiff Barnes-Thomas Only is hereby granted.

 SO ORDERED this 24th day of September 2020.
SO ORDERED this        day of                2020.


                                                     RICHARD L. YOUNG, JUDGE
                                                     United States District Court for the
                                                     Southern District of Indiana


Distribution:
Copies to all registered counsel of record will be made via CM/ECF.
Copies to all non-registered counsel of record shall be made by Plaintiff’s Lead Counsel.
